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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                 BRIDGEPORT DIVISION

 In re:                                              Chapter 11

 HO WAN KWOK,                                        Case No: 22-50073 (JAM)

                         Debtor.


 HO WAN KWOK,

                        Movant,

 v.

 LUC A. DESPINS,
 CHAPTER 11 TRUSTEE

                        Respondent.

                             MOTION FOR PROTECTIVE ORDER

          Pursuant to Fed. R. Civ. P. 45, incorporated herein by Fed. R. Bankr. P. 9016, and Fed. R.

Bankr. P. 9018, the debtor, Ho Wan Kwok (the “Debtor”), through his undersigned counsel, hereby

moves for a protective order precluding the disclosure of the Debtor’s asylum application (the

“Asylum Application”) to the Chapter 11 Trustee, Luc A. Despins (the “Trustee”). In support of

his Motion, the Debtor respectfully states as follows:

I.        FACTUAL AND PROCEDURAL BACKGROUND

          1.     On July 28, 2022, the Trustee filed his Omnibus Motion of Chapter 11 Trustee for

Entry of Order under Bankruptcy Rule 2004 and Local Rule 2004-1 Authorizing Discovery with

Respect to Various Legal and Financial Advisors to the Debtor (Doc. No. 637) (the “Professionals

2004 Motion”), seeking, inter alia, to conduct the examination of Clark Hill PLC (“Clark Hill”).

          2.     Clark Hill was the Debtor’s counsel with respect to the Asylum Application.
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         3.      The Debtor filed a limited objection (Doc. No. 703), inter alia, to the Professionals

2004 Motion on August 5, 2022, on the grounds that if the proposed order filed therewith were

entered and interpreted literally, it would preclude objections, including based upon privilege, in

violation of Local Rule 2004-1.

         4.      On August 16, 2022, the Court entered the Order Granting Chapter 11 Trustee’s

Application for Rule 2004 Discovery with Respect to Various Legal and Financial Advisors to the

Debtor (Doc. No. 756), which inter alia, permitted service of a subpoena upon Clark Hill, but

directed that compliance was “[s]ubject to any rights under the Federal Rules of Bankruptcy

Procedure, the Federal Rules of Civil Procedure, and applicable Local Rules[.]”

         5.      On August 18, 2022, the Trustee gave notice that it would serve a subpoena (the

“Subpoena”)1 upon, inter alia, Clark Hill, which was subsequently served upon Clark Hill.

         6.      On September 14, 2022, the Court entered the Consent Order Regarding Control of

Attorney-Client Privilege and Work Product Protection Related to Rule 2004 Subpoenaed

Documents and Information (Doc. No. 856) (the “Consent Order”). The Consent Order defined

the scope of the Trustee’s and Debtor’s respective control of the attorney-client and work-product

privileges and set forth certain procedures for disputes concerning the same. Moreover, the

Consent Order specifically provided

         Nothing herein shall prevent the Debtor from asserting any and all privileges
         concerning legal matters unrelated to the Investigation Topics, such as unrelated
         criminal allegations or the Debtor’s asylum application (other than documents
         related to the litigation styled as Guo Wengui v. Clark Hill, PLC, Case No. 19-cv-
         03195 (D. D.C.) [(the “Clark Hill Action”)] that relate to the merits of the legal
         malpractice action, as distinguished from the merits of the Debtor’s asylum
         application, subject to the balancing test incorporated herein, which does not relate
         to the substance of the asylum application).



1
    A copy of the subpoena is attached hereto as Exhibit A.

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(Consent Order, ¶ 4.) (emphasis added). The Investigation Activities are limited to the Debtors’

assets, financial condition, or activities related to the administration of the bankruptcy estate,

which, per the Consent Order, “does not relate to the substance of the asylum application.” (Id., ¶

2.)

       7.      During the hearings concerning the negotiation of the Consent Order, the Trustee

and his counsel each represented, separately, that the Trustee did not seek the Debtor’s Asylum

Application:

       The debtor identifies his concerns about potentially privileged documents related
       to . . . things that have been made against him as well as his asylum application.
       We are not, in our investigation at this time, seeking any documents related to
       those issues. (Tr. 8/30/22, Exhibit B, at 104: 6-11 (Bassett, N.) (emphasis added)).

       [T]he debtor contends, well as I said before, there’s a concern that, you know, it’s
       possible documents the trustee is seeking to have access to could involve potential
       . . . unrelated issues like his asylum application, but, again, as I said before, we’re
       not seeking to get those documents through our discovery requests. (Id., at 110:
       12-19 (Bassett, N.) (emphasis added)).

       The debtor has identified one request in our subpoena directed to his former law
       firms and professionals, Request 17, that asks for information about legal disputes
       which could be read to include . . . his asylum application, we are willing to make
       clear on the record that we’re not seeking to get that type of information and we’ll
       limit that request accordingly. (Id., at 110: 20-111:2 (Bassett, N.) (emphasis
       added)).

       [T]here is no basis that’s been provided as to why documents would relate to
       assets, financial condition, or the administration of the estate, would have
       anything to do with the debtor’s asylum application. (Id., at 137: 17-20 (Bassett,
       N.) (emphasis added)).

       But, again, if there is language we could work out to make clear if there’s a
       document that talks about . . . his asylum application, things like that, in his
       objection, I think we could work out language to put in the proposed order to again
       make clear that we are not seeking that. (Id., at 138: 24-139: 5 (Bassett, N.)
       (emphasis added)).

       [A]s we’ve made clear in our order, you know, there are carveouts designed to
       address specifically the concerns that the debtor has raised concerning privileged



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       communications that relate to . . . his asylum application. (Tr. 9/6/22, Exhibit C,
       49: 5-10 (Bassett, N.) (emphasis added)).

       And that is exactly how we tried to craft our revised proposed order is to track those
       categories in that weigh of the case law and then to also make clear to address the
       debtor’s concerns that he is still able to assert privileges over documents related to
       . . . his asylum application . . . . (Id., at 76: 13-18 (Bassett, N.)).

       So the balancing—[the court is] doing the balancing. [The court is] doing the
       balancing in a category-by-category document with some very specific carveouts
       regarding . . . the asylum issue carved out, [the court is] doing the balancing. (Id.,
       at 108: 9-15 (Despins, L.) (emphasis added)).

       8.      The Court expressly relied on the Trustee’s and his counsel’s representations when

it entered the Consent Order-just as the Debtor did when it agreed to the Consent Order:

       The Court: Well, I’m trying to figure out how we should proceed. And right now
       this was a continued hearing on the trustee’s motion to have this court determine
       that he holds all the privileges of the debtor.

       My understanding of that motion was that even though the trustee wants that order,
       he would agree to carveout anything with regard to the asylum issue. . .

       I mean, he was—he’s not asserting and never has asserted that he’s going to
       exercise that right. (Id., at 67: 20-68:5) (emphasis added)).

       9.      Thereafter, pursuant to discussions among the Debtor, Clark Hill, the Trustee, and

their counsel, it was agreed that Clark Hill would produce documents responsive to the Subpoena

to the Debtor’s counsel for review. Clark Hill produced documents to the Debtor, which included

the Asylum Application. Counsel for the Debtor has asserted to the Trustee’s counsel and Clark

Hill’s counsel that the Asylum Application is prohibited from disclosure. However, the Trustee’s

counsel, despite the Trustee’s representations to the Court that the Subpoena did not seek the

Debtor’s Asylum Application, now asserts that the Asylum Application must be produced to him.

Thus, the Debtor filed this Motion.




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II.    JURISDICTION AND VENUE

       10.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue

is proper in this Court for this case and this Motion pursuant to 28 U.S.C. §§ 1408 and 1409,

respectively.



III.   LEGAL BASIS FOR RELIEF

       11.      Fed. R. Bankr. P. 9018 provides in relevant part that “[o]n motion or on its own

initiative, with or without notice, the court may make any order which justice requires . . . (3) to

protect governmental matters that are made confidential by statute or regulation. . . .”

       When the requirements of Rule 9018 are satisfied, the authority to issue the
       resulting order is broad – “any order which justice requires.” The Court notes that
       the authority goes not just to the protection of confidential documents, but to other
       confidentiality restrictions that are warranted in the interests of justice.

In re Glob. Crossing Ltd., 295 B.R. 720, 724 (Bankr. S.D.N.Y. 2003).

       12.      Moreover, Fed. R. Civ. P. 45(d)(3) permits the Court to quash or modify a subpoena

that “requires disclosure of privileged or other protected matter, if no exception or waiver

applies[.]” A party who is not a party to a subpoena has standing to quash or modify a subpoena

to protect a “personal right or privilege with regard to the documents sought.” Estate of Ungar v.

Palestinian Auth., 332 F. App'x 643, 645 (2d Cir. 2009) (citation and quotation marks omitted).

       13.      The Immigration and Nationality Act “prohibits the disclosure of information

pertaining to any asylum application. . . .” Zhong Rong Li v. Gonzales, 181 F. App'x 124, 128 (2d

Cir. 2006). Specifically, 8 C.F.R. § 1208.6(a) provides:

       Information contained in or pertaining to any application for refugee admission,
       asylum, withholding of removal under section 241(b)(3) of the Act, or protection
       under regulations issued pursuant to the Convention Against Torture’s


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       implementing legislation, records pertaining to any credible fear determination
       conducted pursuant to § 208.30, and records pertaining to any reasonable fear
       determination conducted pursuant to § 208.31, shall not be disclosed without the
       written consent of the applicant, except as permitted by this section or at the
       discretion of the Attorney General.

       14.     Here, it is clear that the Asylum Application is protected from disclosure by 8

C.F.R. § 1208.6(a), and that no exception is applicable to permit disclosure. See 8 C.F.R. §

1208.6(c)-(e). In addition, the Asylum Application does not relate to the Investigation Activities

of the Trustee – i.e., investigating the Debtor’s assets, financial condition, and administration of

the estate—a fact that the Trustee’s counsel repeatedly represented to the Court during the hearings

concerning the Consent Order, and the Court expressly relied on the Trustee’s representation that

he would not seek to compel production of the Debtor’s Asylum Application when it entered the

Consent Order. (See paragraphs 7-8 above). Moreover, in light of the fact that the Subpoena had

already been served when the Trustee’s counsel made these representations in open court—and

the Court relied on them when it entered the Consent Order—either (i) the Subpoena does not seek

to compel the production of the Debtor’s Asylum Application, i.e., the Asylum Application is

nonresponsive to the Subpoena; or (ii) the Trustee and his counsel affirmatively misrepresented

their intentions to the Court. Presumably the former is the case—but the end result is the same: the

Trustee cannot compel Clark Hill to produce the Debtor’s Asylum Application to him or his

counsel.

       15.     For the reasons set forth above—most notably the Trustee’s and his counsel’s

representations to the Court, it is obvious that the Trustee does not seek the Asylum Application

as part of his investigation, but, rather, he improperly seeks to obtain highly confidential

information in order to gain leverage over the Debtor, given that the Trustee is well aware of the

persecution of the Debtor by the Chinese Communist Party. Moreover, even if i) the Trustee could



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establish that the Asylum Application is relevant to the administration of the Debtor’s estate, which

he cannot, or ii) the Trustee had not repeatedly represented to the Court that he would not seek to

compel anyone to produce the Debtor’s Asylum Application through the Subpoena, which he did,

the clear protection of 8 C.F.R. § 1208.6(a) precludes disclosure of the Asylum Application to the

Trustee.

        WHEREFORE, the Debtor respectfully requests that the Court grant this Motion, enter

an order precluding the disclosure of the Asylum Application to the Trustee, and grant him such

other and further relief as justice requires.



        Dated at Bridgeport, Connecticut on this 2nd day of November, 2022.

                                                THE DEBTOR,
                                                HO WAN KWOK

                                                /s/ Aaron A. Romney
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                                                John L. Cesaroni (ct29309)
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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

    In re:                                              Chapter 11

    HO WAN KWOK,                                        Case No: 22-50073 (JAM)

                           Debtor.


    HO WAN KWOK,

                           Movant,

    v.

    LUC A. DESPINS,
    CHAPTER 11 TRUSTEE

                          Respondent.

             PROPOSED ORDER GRANTING MOTION FOR PROTECTIVE ORDER

             Upon the Motion for Protective Order (the “Motion”), filed by the debtor, Ho Wan

Kwok, having come before the Court, and there being due and sufficient cause to grant the

requested relief, it is hereby

             ORDERED, that the Motion is in all respects GRANTED, and it is further

             ORDERED, that Clark Hill LLP is precluded from producing the Asylum Application2

to the Trustee.




2
  Capitalized terms herein shall have the same meaning as in the Motion, unless otherwise
indicated.

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                          UNITED STATES BANKRUPTCY COURT
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                                BRIDGEPORT DIVISION

 In re:                                             Chapter 11

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                        Debtor.


 HO WAN KWOK,

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 v.

 LUC A. DESPINS,
 CHAPTER 11 TRUSTEE

                       Respondent.

                NOTICE OF CONTESTED MATTER RESPONSE DEADLINE

          Ho Wan Kwok (the “Debtor”) has filed a Motion for Protective Order (the “Contested

Matter”) in the above-captioned case. Notice is hereby given that any response to the Contested

Matter must be filed with the Court no later than November 16, 2022. In the absence of a timely

filed response, the proposed order in the Contested Matter may enter without further notice and

hearing, see, 11 U.S.C. section 102 (1).

                                             THE DEBTOR,
                                             HO WAN KWOK

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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                 BRIDGEPORT DIVISION

  In re:                                               Chapter 11

  HO WAN KWOK,                                         Case No: 22-50073 (JAM)

                        Debtor.


  HO WAN KWOK,

                        Movant,

  v.

  LUC A. DESPINS,
  CHAPTER 11 TRUSTEE

                        Respondent.

                                  CERTIFICATE OF SERVICE

           I hereby certify that on this 2nd day of November, 2022, copies of foregoing Motion for

  Protective Order, exhibits thereto, Proposed Order, and Notice of Contested Matter Procedure

  were filed electronically. Notice of this filing will be sent by e-mail to all parties by operation

  of the Court’s electronic filing system or by mail to anyone unable to accept electronic filing as

  indicated on the Notice ofElectronic Filing. Parties may access this filing through the Court’s

  CM/ECF System.

                                               THE DEBTOR,
                                               HO WAN KWOK

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